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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

TOMMY BADEAUX AND CANDIS LAMBERT,               )
individually and on behalf of NEW ORLEANS       )                     NO. 2:19-CV-00566
SAINTS SEASON TICKET HOLDERS, NEW               )
ORLEANS SAINTS NATIONAL FAN BASE                )                     JUDGE: E
a/k/a THE WHO DAT NATION, ANY PARTY             )
WITH INTEREST THAT HAS BEEN                     )                     MAGISTRATE: (5)
AFFECTED BY THE OUTCOME                         )
                                                )
VERSUS                                          )
                                                )
ROGER GOODELL as COMISSIONER OF                 )
THE NATIONAL FOOTBALL LEAGUE,                   )
NATIONAL FOOTBALL LEAGUE and NFL                )
PROPERTIES, LLC, Successor-in-interest          )
to NFL PROPERTIES, INC.                         )
                                                )
________________________________________________)


                PLAINTIFFS’ MEMORANDUM ON ISSUE OF STANDING



MAY IT PLEASE THE COURT:

       Now into Court, come Plaintiffs who submit this memorandum in support of Plaintiffs’

standing pursuant Louisiana Code of Civil Procedure Article 3862, et seq.


        In pertinent part, LCCP Article 3862 states that a mandamus action may be issued by a

court where “the delay in obtaining ordinary relief may cause injustice.” Furthermore, as set

forth in the 2006 Louisiana Supreme Court ruling in In Re Melancon, 935 So.2d 661 (La. 2006),

a plaintiff will have standing if he has a cognizable right that can be legally protected. Plaintiffs

have asserted to the this Court that their cognizable right as season ticket holders entitles them to

an opportunity to enter into a pool to purchase Super Bowl tickets at face value in order to watch

the Saints at the Super Bowl on February 3, 2019. Plaintiffs further asserted that this Honorable
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Court can legally protect their right by ordering Mr. Goodell to invoke Rule 17, which could

potentially result in a reversal or replay of part or whole of the NFC Championship game,

wherein a “no call” resulted in a blatantly unfair result. However, once the Super Bowl is played

on February 3rd, the entire mandamus action becomes moot.


        Conversely, at the hearing on Monday, January 28, 2019, counsel for the defendants,

Goodell and the NFL, stated on the record that standing did not exist for the Plaintiffs because:


        A. Even if Goodell wanted to invoke Rule 17, he could not overrule the officials’ final

            rulings on the field, and;


        B. Rule 17 has never been invoked in the 99 years of the NFL history (which somehow

            evidences why it cannot or should not be invoked in this case).


        However, Plaintiffs subsequently submitted to the court a memorandum which proved

both of these statements were false. In fact, counsel for the defendants subsequently conceded to

this Court that unbeknownst to him on December 16, 2001 at the Cleveland Browns vs. Jackson

Jaguars game, the Commissioner must have invoked certain sections of Rule 17. Indeed, in that

game the “officials’ final call” resulted in ending of the game 48 seconds too early, but the

Commissioner directed the officials to reverse their final call on the field and restart the game

even after the players had left the field.


        Despite defense counsel’s admission of presenting to this Court an inaccurate history of

the Commissioner’s prior use of Rule 17 and the inability of using Rule 17 to overrule the game

officials’ final call, today, January 30, 2019, at 1200 pm, the NFL Commissioner, Goodell, once

again made the same misleading statements during his “State of the NFL Address” to the public


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on national television. Without flinching, once again, Mr. Goodell made the same misleading

statement that he (as Commissioner) could not and cannot overrule the officials’ final calls in the

NFC Championship game.


       Mr. Goodell knows full well that the rules of the NFL and the Constitution and By-Laws

of the NFL, effective February 1, 1970, (revised June 1, 2010), and more specifically Article

21.1 of the Constitution and By-Laws, clearly states that the National Football Conference

Championship Game shall be under the supervision, control, and direction of the Commissioner.

Additionally, Rule 17, Section 2, Article 2, specifically states the investigation called for in

Section 2 will be conducted solely on the Commissioner’s initiative to review an act of

occurrence that the Commissioner deems so extraordinary or unfair that the result of the game in

question would be inequitable to one of the participating teams.

       Clear evidence that the Commissioner is refusing to take the required action is his alleged

excuse, expressed by him at his press conference, that the prohibition against the NFL clubs

availing themselves of Rule 17, somehow precludes him, as Commissioner from dispensing any

of the remedies available to him pursuant to Rule 17. Rule 17, Section 2, Article 3 provides as

follows:

               “The Commissioner’s powers under this Section 2 include the

               imposition of monetary fines and draft-choice forfeitures,

               suspension of persons involved in unfair acts, and, if appropriate,

               the reversal of a game’s result or the rescheduling of a game, either

               from the beginning or from the point at which the extraordinary act

               occurred.”




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        This reasoning belies logic and is further evidence of the reason why the season ticket

holders have standing to bring this mandamus. As pointed out in various cases interpreting who

has the right to bring a mandamus, the season ticket holders can demonstrate a special interest

separate and distinct from the fans in general proving damage from the refusal of the

Commissioner to implement Rule 17, and take the appropriate action.

        Once again, commissioner Goodell and the NFL appear to be attempting to claim Rule 17

cannot legally protect the Plaintiff’s cognizable rights. Plaintiffs respectfully submit to this Court

that the defendants’ repeated misleading statements to this Court and now to the public are

flawed attempts to deprive the Plaintiffs of standing.


        WHEREFORE, the Plaintiffs pray that this Court find that they have standing to bring

this action.


                                                         Respectfully Submitted,

                                                         FRANK J. D’AMICO, JR., APLC

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                                CERTIFICATE OF SERVICE

        I do hereby certify that on this 30th of January, 2019, a true and correct copy of the

foregoing was filed through the Court’s CM/ECF system, and that I have served a copy of the

above and foregoing upon all other counsel of record by placing same in the United States mail,

properly addressed and with first class postage prepaid, or by hand delivery, facsimile, e-mail or

other electronic means.

       Via Email: gjones@jonesswanson.com

                                                    s/ Frank J. D’Amico, Jr
                                                    Frank J. D’Amico, Jr.




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